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                                      Danny Pierce




         UNITED STATES DISTRICT COURT
         NORTHERN DISTRICT OF ILLINOIS
         EASTERN DIVISION
         - - - - - - - - - - - - - - - - - - - - - x
         FEDERAL TRADE COMMISSION,
                             Plaintiff,              CASE NO.:
                       -against-                     17-ev-194
         CREDIT BUREAU CENTER, LLC, et al.,
                             Defendants.
         - - - - - - - - - - - - - - - - - - - - - x
                                       One Bowling Green
                                       New York, New York

                                       January 30, 2018
                                       9:35 a.m.




                     DEPOSITION OF DANNY PIERCE,
         pursuant to Fed.R.Civ.P.30, and Subpoena,
         held at the above-noted time and place before
         Debra J. Gumpel, a Notary Public of the State
         of New York.



                                                             EXHIBIT
                                                               C




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                                                   Danny Pierce

                                                        2                                                      4
    1                                                        1                 DANNY PIERCE
    2   A P P E A R A N C E S:
    3                                                        2    before the District Court in Chicago.
    4   UNITED STATES FEDERAL TRADE COMMISSION               3            I will be asking you a series of
        Attorneys for Plaintiff                              4
    5      230 South Dearborn Street                              questions today. If you don't understand any
           Chicago, Illinois 60604-1505                      5    of my questions, please stop me and ask me to
    6
                                                             6    rephrase or to repeat the question. If your
        BY: GUY G. WARD, ESQ.
    7     gward@ftc.gov                                      7    lawyer or any of the other attorneys in the
    8     SAMUEL LEVINE                                      8    room object to any of my questions, please
          slevinel@ftc.gov
    9                                                        9    wait until they get their objection on the
   10                                                       10    record. Unless your lawyer directs you not to
   11   STEPHEN R. COCHELL, ESQ.                            11
        Attorney for Defendants,                                  answer the question, under the rules, you're
   12   Credit Bureau Center, et. al.                       12    obligated to answer the question as it was
           TBN 24044255                                     13
   13      2616 South Loop West, Suite 470
                                                                  asked. Do you understand that?
           Houston, Texas 77054                             14        A Yes.
   14                                                       15        Q You have already gotten one of the
        BY: STEPHEN R. COCHELL, ESQ.
   15                                                       16    rules correct. You answered audibly. You
   16                                                       17    can't say uh-huh or un-uh or shake your head.
        HINCH, NEWMAN, LLP.                                 18
   17   Attorneys for Danny Pierce                                The other thing is, when people start talking
           40 Wall Street, 35th Floor                       19    over each other, the court reporters gets
   18      New York, New York 10005                         20
   19   BY: RICHARD B. NEWMAN, ESQ.
                                                                  pretty cranky, and they start telling people
           rnewman@hinchnewman.com                          21    to shut up and answer one at a time. Well,
   20                                                       22    maybe they don't say shut up, but they do say,
   21        ***    ***    ***
   22                                                       23    please one at a time. If you start talking
   23                                                       24    quickly, the court reporter may tell you to
   24
   25
                                                            25    slow down. All of it is to preserve the

                                                        3                                                      5
    1                   DANNY PIERCE                        1                  DANNY PIERCE
    2      D A N N Y P I E R C E, the witness herein,       2     record. Do you understand that?
    3      after having been first duly sworn by a Notary   3         A Yes.
    4      Public of the State of New York, was examined    4         Q Are you under any medication or
    5      and testified as follows:                        5     have any condition today that would prevent
    6      EXAMINATION BY                                   6     you from remembering events or from testifying
    7      MR. COCHELL:                                     7     today?
    8          Q State your name for the record,            8         A No.
    9      please.                                          9         Q What is your date of birth?
   10          A Danny Pierce.                              10        A 2-12-83.
   11          Q What is your current address?              11        Q I'm a little hard of hearing, so
   12          A 60 Salter Place, Floor 2,                  12    if you could just maybe speak up. Did you say
   13      Belleville, New Jersey 07109.                    13    it was 2-23-83?
   14                  MR. COCHELL: Let the record          14        A 2-12-83.
   15              reflect that this is the                 15        Q Okay. That's exactly my problem.
   16              deposition of Danny Pierce, which        16    I hear part of it but not all of it. If you
   17              is being taken pursuant to the           17    would, you currently live in New Jersey, is
   18              rules, and pursuant to the               18    that correct, sir?
   19              subpoena issued to Mr. Pierce and        19        A Yes.
   20              accepted by his lawyer, who is           20        Q Were you born and raised in New
   21              present today.                           21    Jersey?
   22          Q Mr. Pierce, let me introduce               22        A I was born in Colorado. I was
   23      myself. My name is Stephen Cochell. I            23    raised in New Jersey.
   24      represent Credit Bureau Center and Michael       24        Q How far did you get through
   25      Brown, who are defendants in a case pending      25    school?

                                                                                                  2 (Pages 2 to 5)

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                                                Danny Pierce

                                                     6                                                    8
    1                 DANNY PIERCE                       1                  DANNY PIERCE
    2         A Started college, and then I              2         A Software design.
    3    started working as a software engineer, and I   3         Q How did you develop these
    4    just stopped going to college.                  4     skills?
    5         Q Right.                                   5         A Just as a kid, I took computers,
    6         A It's a common thing.                     6     and I like them, so--
    7         Q Are you married?                         7         Q Fair enough. So you worked for
    8         A No.                                      8     Essex --
    9         Q Have you ever been married?              9         A Cotopaxi. It's a mountain in
   10         A No.                                      10    Ecuador, but the company was named after it.
   11         Q With respect to college, where did       11    It's C-O-T-O-P-A-X-I.
   12    you attend college?                             12        Q How long did you work there?
   13         A Community College.                       13        A When I was 20 years old I started
   14         Q Which one?                               14    as a graphic designer, and I actually can't
   15         A Essex County College.                    15    remember the date that I stopped working
   16         Q How long did you actually go to          16    there. I think it was around 2012 or 2011.
   17    Essex County?                                   17        Q So you started in what year?
   18         A I would say two years, year and a        18        A I don't even know the year. I was
   19    half.                                           19    20 years old.
   20         Q Did you go continuously, or --           20        Q What's your current age?
   21         A Yes. I started off when I was            21        A Thirty-four.
   22    still in high school as a non-matriculating     22        Q So you worked there 13 or 14
   23    student, and then I just continued after high   23    years?
   24    school.                                         24        A Yes, quite a while.
   25         Q So you decided to stop going,            25        Q So you would have started working

                                                     7                                                    9
    1                  DANNY PIERCE                       1                 DANNY PIERCE
    2    why?                                             2    there some time maybe in 2000?
    3         A Because I found a job, and I liked        3        A Maybe 2001. I'm not doing the
    4    the job, so I stayed with the job.               4    math, but I would assume 2001, 2002-ish.
    5         Q What job was that?                        5        Q Have you worked for any other
    6         A It was for a company called               6    companies as an employee other than
    7    Cotopaxi. It was a manufacturing company.        7    Cotopaxi?
    8    First I started actually with graphic design     8        A No.
    9    with them, and then I moved on to software       9        Q What was the reason for your
   10    engineering when a different job opened up.     10    departure from Cotopaxi?
   11         Q Is it fair to say that you believe       11        A I wanted to start doing
   12    your expertise is in software engineering, or   12    contracting full time.
   13    is that one of your expertise?                  13        Q By contracting, what are you
   14                 MR. LEVINE: I would object,        14    referring to?
   15             to the extent you're asking him if     15        A Software engineering.
   16             he's an expert.                        16        Q Did you start your own company?
   17         Q With respect to your employment          17        A I started a few companies
   18    skills, where do you think your employment      18    throughout the years.
   19    skills lie primarily?                           19        Q What companies did you start?
   20                 MR. NEWMAN: I object to the        20        A Media 818.
   21             form. By the way, this is Richard      21        Q Media --
   22             Newman. I represent Mr. Pierce.        22        A 818. The number is 818.
   23         A Computers.                               23        Q Was this in New Jersey that you
   24         Q By computers, hardware, software,        24    started these companies?
   25    what?                                           25        A I was in New Jersey, but I believe

                                                                                             3 (Pages 6 to 9)

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                                                 Danny Pierce

                                                    10                                                    12
    1                DANNY PIERCE                         1                  DANNY PIERCE
    2    that was a Nevada company.                       2         A Mostly custom-designed products,
    3         Q What kind of company was that?            3     like pens and promotional items. Like you go
    4         A It was just a media company. I did        4     to a trade show and you get the give-aways,
    5    contracting through it, and I was building a     5     the logos of the company. That's what they
    6    website. Actually two different websites that    6     do.
    7    never actually launched.                         7         Q With respect to, I guess, Media
    8         Q So you had a company, you formed          8     818, how long did you operate that company?
    9    it in Nevada; is that correct?                   9         A To be honest, I'm not even sure of
   10         A Yes.                                      10    the dates. It's been around for a while.
   11         Q And then you started to develop a         11        Q It's been what?
   12    website, but never developed a website?          12        A It was around for a while. I'm not
   13         A Yes.                                      13    sure how actually long it was.
   14         Q So the company never really did           14        Q What's the last thing you remember
   15    business?                                        15    about operating that company?
   16         A It did business as far as the             16        A A site that we're developing,
   17    contracting work, but that's pretty much the     17    while I was developing. And that was pretty
   18    extent of that.                                  18    much the end of it.
   19         Q What kind of things did you               19        Q When you talk about developing a
   20    contract?                                        20    site, are you including like search engine
   21         A Software development.                     21    optimization? Is that part of what you
   22         Q What kind of software did you             22    consider development?
   23    develop?                                         23        A No. This was actually a web
   24         A Mostly like back-end web pages.           24    application for like picture sharing. So it
   25         Q By back-end web page, what does           25    really wasn't any search engine optimization

                                                    11                                                    13
    1                 DANNY PIERCE                         1                 DANNY PIERCE
    2    that mean?                                        2    in there.
    3        A Content management systems, mini            3        Q So we've covered Media 818. What
    4    RP's.                                             4    other companies did you form and operate in
    5        Q Mini --                                     5    New Jersey?
    6        A Employee Relationship Managers.             6        A A company called CPA Staxx,
    7        Q When you left Cotopaxi, what was            7    S-T-A-X-X.
    8    your formal title?                                8        Q What kind of company was that?
    9        A I actually -- we didn't really              9        A That was an affiliate networking
   10    have titles there, but I was -- I would assume   10    company, affiliate network.
   11    just software engineer, developer.               11        Q How did you get involved in
   12        Q Were there other software                  12    affiliate networking?
   13    engineers working for the company at             13        A I'm not even too sure. I think it
   14    Cotopaxi?                                        14    was -- I'm not too sure. It's so long ago.
   15        A There was not.                             15        Q Affiliate networking refers to
   16        Q So you were it? You were the               16    what it?
   17    chief software developer?                        17        A Just affiliate marketing. Could
   18        A Yes. I was the developer.                  18    be SEO, paid traffic.
   19        Q Fair enough.                               19        Q How long did you operate CPA
   20        A I'm not sure what the title would          20    Staxx?
   21    be.                                              21        A About two years.
   22        Q What kind of business did they             22        Q Did you operate other companies
   23    do?                                              23    simultaneously or at the same time as CPA
   24        A They're a manufacturing company.           24    Staxx?
   25        Q What did they manufacture?                 25        A I did not.

                                                                                            4 (Pages 10 to 13)

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                                                Danny Pierce

                                                   14                                                     16
     1               DANNY PIERCE                         1                 DANNY PIERCE
     2       Q Did you have any partners in CPA           2        A We kept the offers coming to
     3   Staxx?                                           3    them.
     4       A I was the main person in the               4        Q How did you get offers to route to
     5   company.                                         5    them?
     6       Q When you say the main person, what         6        A It depends.
     7   other persons were there in CPA Staxx?           7        Q Give me some examples.
     8       A I had affiliate managers and               8        A Advertisers would come to us. We
     9   managers that managed other people.              9    would advertise, look for other advertisers.
    10       Q What kind of marketing did CPA            10    It was a lot of word of mouth. Just an
    11   Staxx do?                                       11    industry as a whole.
    12       A We managed affiliates.                    12        Q Prior to opening up CPA Staxx, you
    13       Q What did they do?                         13    had no experience in affiliate networking?
    14       A Paid traffic.                             14        A Excuse me? Can you repeat that?
    15       Q So affiliates did paid traffic?           15        Q Did you have any experience in
    16       A Yes.                                      16    affiliate networking prior to opening up CPA
    17       Q What do you mean by paid                  17    Staxx?
    18   traffic?                                        18        A I did not.
    19       A Face book ads, Google ads, Yahoo          19        Q You did not?
    20   ads.                                            20        A No.
    21       Q How many affiliates did you have          21        Q Is that correct?
    22   with CPA Staxx?                                 22        A Yes.
    23       A Wouldn't be able to give a number         23        Q What gave you the idea to open up
    24   off the top of my head.                         24    CPA Staxx?
    25       Q Approximately?                            25        A It was a new business.

                                                   15                                                     17
     1                DANNY PIERCE                        1                DANNY PIERCE
     2        A I would say two, three hundred.           2       Q So you just came across the idea
     3        Q These affiliates would do what for        3    and you opened it one day?
     4   CPA Staxx?                                       4       A Yes.
     5        A Send traffic to offers.                   5       Q You mentioned Media 818, CPA
     6        Q So you would get offers. How              6    Staxx. What other companies did you form and
     7   would it work in practice? How would they        7    operate?
     8   come to you, or why would they affiliate with    8       A The last one was Revable,
     9   you, with CPA Staxx?                             9    R-E-V-A-B-L-E.
    10        A I don't understand the question.         10       Q Did you have any partners in
    11        Q So you have two or three hundred         11    Revable?
    12   affiliates working with you. Why would they     12       A I did not.
    13   affiliate with you? What is the benefit to      13       Q What did Revable do?
    14   them?                                           14       A That was the run-off from the
    15        A I'm not sure what the question is.       15    remaining affiliates from CPA Staxx.
    16        Q What is it that you offered them         16       Q When you say remaining affiliates,
    17   that had value?                                 17    apparently, and correct me if I am wrong, you
    18        A Also not sure what the question          18    decided to discontinue CPA, using CPA Staxx?
    19   is.                                             19       A Yes.
    20        Q How did you make money from them,        20       Q Why is that?
    21   if at all?                                      21       A Mostly I didn't like the name.
    22        A We made a percentage of what they        22       Q So you formed a different
    23   made.                                           23    company?
    24        Q What is it that you did for              24       A Yes.
    25   them?                                           25       Q Did you realize you could have

                                                                                            5 (Pages 14 to 17)

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                                                Danny Pierce

                                                   18                                                     20
    1                 DANNY PIERCE                        1                  DANNY PIERCE
    2    just changed the name from CPA Staxx to          2       Q       With respect to Revable --
    3    Revable?                                         3                 MR. NEWMAN: I'm sorry. Can
    4        A I did not.                                 4             you be more specific which
    5        Q Did you have any complaints lodged         5             affiliates you're referring to?
    6    against you while you were operating CPA         6                 MR. COCHELL: I'm asking the
    7    Staxx, or did CPA Staxx have any complaints      7             next question.
    8    lodged against it?                               8                 MR. NEWMAN: Well, I would
    9                MR. LEVINE: Objection to             9             like to clarify that.
   10            vagueness.                              10                 MR. COCHELL: But this is my
   11        Q You can answer?                           11             deposition, so I get to ask the
   12        A I don't believe so.                       12             questions. You can re-ask at some
   13        Q With Revable, when did you start          13             point.
   14    Revable? Do you recall?                         14         Q What I would like to do is ask
   15        A I don't.                                  15    you, sir, about Revable. Did you just transfer
   16                (Whereupon, a form post for         16    all the affiliates that you had from CPA Staxx
   17            Revable, was marked as Defendant's      17    into Revable?
   18            Exhibit 1, for identification, as       18         A No. The ones that re-signed up to
   19            of this date.)                          19    Revable.
   20        Q Let me show you what's been marked        20         Q So you had to re-sign up?
   21    as Defendant's Exhibit 1. Let me ask you if     21         A Yes.
   22    you recognize that document. Do you recognize   22         Q With respect to Revable, how many
   23    that?                                           23    affiliates, approximately, did you have with
   24        A It looks like a form post.                24    Revable?
   25        Q Does that accurately describe             25                 MR. NEWMAN: Objection as to

                                                   19                                                     21
     1                 DANNY PIERCE                       1                  DANNY PIERCE
     2   Revable as of October 27, 2015?                  2             form. What period of time?
     3                MR. LEVINE: Objection.              3                 MR. COCHELL: At any time.
     4            Vagueness.                              4        Q At the highest level of activity
     5       A Yes.                                       5    that Revable had.
     6       Q You can put that to the side. With         6        A About 20, 30 maybe.
     7   respect to companies, did you form any other     7        Q So you went from two or three
     8   companies or any other companies other than      8    hundred -- How many affiliates did CPA Staxx
     9   Media 818, CPA Staxx, and Revable?               9    have? I thought you said two hundred to three
    10       A No.                                       10    hundred. That's what my notes say.
    11       Q Did you operate any companies             11        A Yes.
    12   other than Media 818 and CPA Staxx and          12        Q So you went from 200 to 300
    13   Revable?                                        13    affiliates to 20 or 30 affiliates?
    14       A No.                                       14        A Yes.
    15       Q With respect to CPA Staxx, when           15        Q Did you maintain a list of all of
    16   you had affiliates, did you have contracts      16    your affiliates?
    17   with them, written contracts?                   17                 MR. LEVINE: Objection to
    18       A We had an affiliate agreement.            18             vagueness.
    19       Q That's a written contract,                19        A I did.
    20   right?                                          20        Q When this lawsuit was filed, did
    21       A Yes.                                      21    the FTC get an order requiring you to turn all
    22       Q Did that contract require the             22    over your data?
    23   affiliates to comply with all local, state,     23                 MR. LEVINE: I object.
    24   and Federal laws?                               24             You're asking him to opine on a
    25       A Yes.                                      25             legal proceeding?

                                                                                            6 (Pages 18 to 21)

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                                                 Danny Pierce

                                                     22                                                    24
     1               DANNY PIERCE                          1                  DANNY PIERCE
     2              MR. COCHELL: Well, let me              2                 MR. LEVINE: Objection.
     3          finish the question.                       3             Vagueness.
     4              MR. LEVINE: I apologize.               4        Q From time to time, lawyers will
     5      Q Did you receive an order from the            5    make objections for the record, but unless
     6   Court requiring you to turn over a copy of        6    your lawyer directs you not to answer, or
     7   your database for Revable?                        7    words to that effect, that means you can go
     8              MR. LEVINE: Same                       8    ahead and answer.
     9          objection.                                 9        A Okay.
    10      Q You can answer the question.                10        Q They're just preserving objections
    11      A I don't know.                               11    for trial. So that doesn't mean that an
    12      Q Did you turn over your database             12    affiliate manager controls the websites, or
    13   and information that you generated through       13    directs the websites, as an affiliate manager.
    14   your operations at Revable to the FTC?           14                 MR. NEWMAN: Is that a
    15      A Yes.                                        15             question or statement?
    16              MR. LEVINE: Mr. Pierce, if            16                 MR. LEVINE: Objection.
    17          you would give me a second. I             17        Q Isn't that right?
    18          would object to vagueness and             18        A I'm not sure what you're --
    19          compound. Off the record.                 19        Q Okay. He can't tell them how to
    20              (Whereupon, a discussion was          20    run their websites, isn't that correct, sir?
    21          held off the record.)                     21                 MR. LEVINE: Objection.
    22      Q With respect to Revable, did you            22             Vagueness.
    23   have any employees at Revable?                   23        A I'm still not sure what you're
    24      A I did not.                                  24    asking.
    25      Q On Exhibit 1, there was somebody            25        Q They have a separate company, and

                                                     23                                                    25
    1                  DANNY PIERCE                       1                  DANNY PIERCE
    2    listed as an affiliate manager named Urcan?      2     they affiliate for purposes of marketing,
    3         A Yes.                                      3     right?
    4         Q What was his last name?                   4         A Yes.
    5         A I can't even spell his last               5         Q As an affiliate manager, he would
    6    name.                                            6     make recommendations to them as to who they
    7                  MR. COCHELL: I think I have        7     might advertise to; is that a fair
    8             it somewhere. I will give it to         8     statement?
    9             you later.                              9                 MR. NEWMAN: Do you
   10         Q What did Urcan do?                        10             understand the question?
   11         A He was affiliate manager.                 11                THE WITNESS: Yeah. I don't
   12         Q What does that mean?                      12             understand it.
   13         A He managed affiliates.                    13        Q So it goes back to, what does an
   14         Q What does that mean?                      14    affiliate manager do?
   15         A I'm not sure what you're asking.          15        A Manages the affiliate.
   16         Q What does an affiliate manager do?        16        Q I have heard that, but if you
   17         A Manage affiliates.                        17    could tell me how he did that. He would just
   18         Q How does he do it?                        18    say, you should consider advertising to this
   19         A Keeps in communication with them,         19    group of people? What would he do? What gave
   20    finds offers that they're looking for. Just an   20    him value?
   21    account manager.                                 21        A He would manage the relationship
   22         Q He doesn't tell them what to do;          22    between the affiliate in that company, and
   23    is that right?                                   23    gauge the offer, and monitor cap. Cap is how
   24         A No. He doesn't control their              24    many sales can be sent to an offer per day.
   25    websites.                                        25    Just manage the affiliate, make sure they were

                                                                                             7 (Pages 22 to 25)

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                                                 Danny Pierce

                                                     26                                                    28
     1                DANNY PIERCE                         1                 DANNY PIERCE
     2   happy, make sure they were paid.                  2    for Roger Ferguson?
     3       Q By managed offer, let's make sure           3                MR. NEWMAN: Objection.
     4   we have that accurate. The offer is what?         4            Compound.
     5       A Not manage the offer. Manage the            5         A I mean, I don't know how to answer
     6   offers cap, which is the amount of sales that     6    that. I'm not sure if I was an independent
     7   are allowed to go to the offer per day.           7    contractor, sub-affiliate, or anything of
     8       Q You did not engage in what some             8    his.
     9   people call as white label marketing; is that     9         Q Were you ever an affiliate with a
    10   correct?                                         10    company that Roger Ferguson owned or
    11               MR. LEVINE: Objection to             11    controlled?
    12           vagueness.                               12         A No.
    13       A I'm not sure.                              13         Q Did you ever receive a percentage
    14       Q Do you know what white label               14    of business from Roger Ferguson for activities
    15   marketing is?                                    15    that you have provided for or on behalf of
    16       A Yes, I do.                                 16    Roger Ferguson or any businesses that he
    17       Q Did you not engage in white label          17    controlled?
    18   marketing; is that correct?                      18                MR. LEVINE: Objection.
    19       A In regards to --                           19            Vague. Compound.
    20       Q In regards to activities to                20         A I don't know. Can you rephrase
    21   Revable.                                         21    that?
    22               MR. NEWMAN: Objection. Lack          22                MR. COCHELL: Please repeat
    23           of foundation.                           23            the question.
    24       A We had white labeled offers.               24                (Whereupon, the question was
    25       Q Because you mentioned affiliates.          25            read back by the reporter.)

                                                     27                                                    29
    1                 DANNY PIERCE                        1                  DANNY PIERCE
    2    Are affiliates different from white label        2                  MR. LEVINE: Same
    3    partners?                                        3              objection.
    4        A The white labels partners would be         4          A I did not.
    5    considered advertisers.                          5          Q So describe the extent of your
    6        Q With respect to CBC, how did you           6     relationship with Roger Ferguson when you
    7    come to know about CBC?                          7     first became aware of Credit Bureau Center or
    8        A I was reached out to --                    8     Michael Brown.
    9        Q That's interesting, but if you             9                  MR. LEVINE: Objection.
   10    could give me more detail. What do you mean?     10             Vague.
   11        A It was one of Mike Brown's -- I            11         A I'm not sure.
   12    guess, would be account manager -- reached out   12         Q What were you discussing with
   13    to me.                                           13    Roger Ferguson before you learned about the
   14        Q Who is that?                               14    existence of Michael Brown and CBC? Why would
   15        A Roger Ferguson.                            15    you even talk to him?
   16        Q How did you know Roger Ferguson?           16                 MR. LEVINE: Objection.
   17        A I knew him from affiliate                  17             Vague and compound.
   18    marketing world, conferences.                    18         A I'm not sure. It's so long ago.
   19        Q Did you ever work through Roger            19         Q So the first time that you talked
   20    Ferguson?                                        20    to Roger Ferguson about business was to
   21                MR. LEVINE: Objection.               21    discuss Credit Bureau Center and Michael
   22            Vague.                                   22    Brown?
   23        A Work through as in --                      23                 MR. LEVINE: Objection.
   24        Q Were you an affiliate,                     24             Vague.
   25    sub-affiliate, or a contractor of some sort      25         A No.

                                                                                             8 (Pages 26 to 29)

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                                                 Danny Pierce

                                                    30                                                    32
    1                 DANNY PIERCE                         1                 DANNY PIERCE
    2        Q The first time that you discussed           2        A Yes.
    3    conducting any business activity with Roger       3        Q What are you referring to?
    4    Ferguson was when he mentioned the existence      4        A The traffic that was going to his
    5    of Credit Bureau Center and Michael Brown, is     5    offer.
    6    that correct, sir?                                6        Q By his offer, what are you
    7                 MR. LEVINE: Objection.               7    referring to?
    8            Asked and answered, and vague.            8        A His company, his credit report,
    9        A No.                                         9    web page.
   10        Q So describe what happened. What            10        Q So you considered that to be one
   11    did he tell you about Credit Bureau Center and   11    offer?
   12    Michael Brown the first time you talked to him   12        A Yes.
   13    about it?                                        13        Q With respect to the relationship,
   14        A I don't remember.                          14    what happened after that, after that initial
   15        Q So can you describe whether you            15    e-mail?
   16    had communications with Credit Bureau Center     16        A With --
   17    and Michael Brown through Roger Ferguson?        17        Q Mr. Brown.
   18                 MR. LEVINE: Objection.              18        A He contacted me.
   19            Vague.                                   19        Q What did you discuss?
   20        Q At any time.                               20        A That I were to be the main
   21        A If I had communication with                21    contact.
   22    Michael Brown through Roger?                     22        Q Main contact for what?
   23        Q Yes.                                       23        A For any communication between me
   24                 MR. LEVINE: Same                    24    and Mike Brown.
   25            objection.                               25        Q Any communication between you and

                                                    31                                                    33
    1                DANNY PIERCE                          1                DANNY PIERCE
    2        A I mean, I would tell Roger                  2    Mike Brown. Seems kind of broad to me. What
    3    something, and he would relay it. I'm             3    are you saying here?
    4    assuming.                                         4        A That I would deal with him
    5        Q You're assuming, but you don't              5    directly.
    6    recall any communications conducted that way?     6        Q All right. Then you guys formed
    7                MR. LEVINE: Objection.                7    some sort of business relationship after
    8            Mischaracterizing testimony.              8    that?
    9        A I can't be certain.                         9        A Yes.
   10        Q So how did you come to form a              10        Q Some time in 2014?
   11    relationship with Credit Bureau Center and       11        A Yes.
   12    Michael Brown?                                   12        Q Did you sign an affiliate
   13        A I e-mailed Michael Brown.                  13    agreement with him?
   14        Q Do you recall approximately when           14        A I don't know.
   15    that was?                                        15        Q But you became an affiliate of
   16        A 2014, October maybe.                       16    CBC?
   17        Q When you e-mailed him, what was            17        A Yes. Nothing was changed on
   18    it? Did he e-mail you or did you e-mail          18    the -- nothing was changed. The point of
   19    him?                                             19    contact was changed.
   20        A I e-mailed him.                            20        Q By point of contact, what are you
   21        Q What was the nature of your e-mail         21    talking about?
   22    to him?                                          22        A Me and Mike Brown.
   23        A To contact me if he still wanted           23        Q Who was the previous point of
   24    that traffic.                                    24    contact?
   25        Q If he still wanted that traffic?           25        A Roger Ferguson.

                                                                                            9 (Pages 30 to 33)

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                                                 Danny Pierce

                                                     34                                                    36
     1                 DANNY PIERCE                        1                DANNY PIERCE
     2       Q I see. So Roger Ferguson had an             2    familiar.
     3   affiliate relationship with Mike Brown and CBC    3        Q Did you review any documents in
     4   prior to you?                                     4    preparation for today's deposition?
     5       A Yes.                                        5        A I did not.
     6       Q So did you make referrals to CBC            6        Q Other than appearing at the
     7   through Roger Ferguson?                           7    preliminary injunction, and appearing for your
     8                MR. LEVINE: Objection.               8    deposition today, have you ever had any
     9            Vague.                                   9    meetings with FTC staff or lawyers in person
    10       A No.                                        10    or by telephone?
    11       Q What was the significance of Roger         11        A I have not.
    12   Ferguson being your point of contact?            12        Q He had, through Revable, what I
    13       A I don't know.                              13    understand, and correct me if I am wrong,
    14       Q What did he do as your point of            14    something called an RTO database.
    15   contact?                                         15                MR. LEVINE: Objection.
    16       A He contacted Mike Brown.                   16            Vague.
    17       Q For what? If you know. If you              17        A RTO database, I did not.
    18   don't know, that's fine.                         18        Q Let me ask you something. With
    19       A He was the account manager.                19    respect to Revable's relationship to CBC, did
    20       Q When you say the account manager,          20    you drive business to CBC's website through
    21   the account manager for what?                    21    Revable activities?
    22       A For Michael Brown.                         22                MR. LEVINE: Objection.
    23       Q He was the account manager for             23            Vague.
    24   Credit Bureau Center; is that what you're        24        A What do you mean?
    25   saying?                                          25        Q My question, sir, is, did you have

                                                     35                                                    37
     1               DANNY PIERCE                         1                   DANNY PIERCE
     2       A I believe so.                              2     a business relationship through Revable with
     3       Q So if I understand, just to wrap           3     CBC that resulted in you driving business to
     4   up here, you had no business that you referred   4     CBC for their credit report and scoring
     5   to CBC that Roger Ferguson managed; is that      5     business?
     6   correct?                                         6                  MR. LEVINE: Objection.
     7               MR. LEVINE: Objection.               7              Vague and compound.
     8           Vague.                                   8         A I'm still not sure what you are
     9       A I'm not sure what you mean.                9     asking.
    10       Q You made no referrals to CBC               10        Q What was the relationship between
    11   through Roger Ferguson?                          11    Revable and CBC? What did you do for him, if
    12               MR. LEVINE: Objection.               12    anything?
    13           Vague. I don't know what you mean        13        A I had affiliates that sent traffic
    14           by referrals.                            14    to their website.
    15       A I'm not sure what you mean by              15        Q You had an affiliate that sent
    16   referrals either.                                16    traffic to their website. What website was
    17       Q Okay. So Roger Ferguson was an             17    that?
    18   account manager for CBC, according to you,       18        A Andrew Lloyd.
    19   right?                                           19        Q Did he have a name of a company?
    20       A Yes.                                       20        A I think he was independent.
    21       Q So what did he manage for CBC?             21        Q If I understand your prior
    22       A I'm not sure.                              22    testimony correctly, you never told Michael
    23       Q Did you have any relationship with         23    Brown that you had an affiliate that was
    24   a company called JC Media?                       24    actually driving the traffic to CBC; isn't
    25       A I don't think so. It doesn't sound         25    that correct, sir?

                                                                                            10 (Pages 34 to 37)

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                                                Danny Pierce

                                                    38                                                   40
     1                 DANNY PIERCE                       1                 DANNY PIERCE
     2                MR. LEVINE: Objection.              2    him.
     3            Mischaracterizing the testimony,        3        Q To who?
     4            and vagueness.                          4        A To his website.
     5       A It never came up, but he knew that         5        Q To who, to whose website?
     6   I had affiliate, affiliates.                     6        A To Mike Brown's website.
     7        Q You never mentioned it to him, and        7        Q With respect to Andrew Lloyd, did
     8   he never was advised specifically that Andrew    8    Andrew Lloyd have something called an RTO
     9   Lloyd was working for, or through Revable?       9    database?
    10                MR. LEVINE: Objection.             10        A He did not.
    11            Vague.                                 11        Q Did he have a website that
    12       A It never came up.                         12    represented that it was an RTO database?
    13        Q You think you knew, but you never        13        A He did not.
    14   told him; is that correct?                      14                MR. LEVINE: Objection.
    15                MR. LEVINE: Same                   15            Vague.
    16            objection.                             16                (Whereupon, a document, was
    17       A He knew.                                  17            marked as Defendant's Exhibit 2,
    18                MR. COCHELL: I move to             18            for identification, as of this
    19            strike.                                19            date.)
    20        Q My question is, you think he knew,       20        Q Marked as Exhibit 2 for
    21   but you never told him specifically that        21    identification, I ask you, sir, if you
    22   Andrew Lloyd was an affiliate for Revable;      22    recognize that document.
    23   isn't that correct?                             23                MR. LEVINE: I'm sorry. Is
    24                MR. LEVINE: Objection.             24            there a question?
    25            Speculation, vague, compound.          25                MR. COCHELL: Yes. I said,

                                                    39                                                   41
     1                DANNY PIERCE                        1                 DANNY PIERCE
     2               MR. COCHELL: Form and                2            I'm showing him an exhibit. I
     3           foundations are the proper               3            asked if he recognized the
     4           objections, counsel.                     4            document.
     5               MR. COCHELL: Ask the                 5         A I don't.
     6           question again.                          6                (Whereupon, a document
     7               (Whereupon, the question was         7            entitled Rent Find, was marked as
     8           read back by the reporter.)              8            Defendant's Exhibit 3, for
     9               MR. LEVINE: Same                     9            identification, as of this date.)
    10           objections.                             10         Q Let me show you what's been marked
    11       A I mean, he didn't know his name,          11    as deposition Exhibit 3, and I ask you, sir,
    12    but he knew there was an affiliate that was    12    if you recognize that document? I'm sorry.
    13    sending traffic to his office website.         13    Did I just give you another copy of the
    14       Q He knew that how?                         14    database?
    15               MR. LEVINE: Objection.              15         A Yes.
    16           Calls for speculation.                  16                MR. LEVINE: I'm sorry.
    17       A Because I was an affiliate                17            What are we looking at?
    18    network.                                       18                MR. COCHELL: Deposition
    19       Q So you're assuming that he knew           19            Exhibit 3. This is powered by
    20    based on the fact that you were an affiliate   20            Rent Find.
    21    network, is that correct, sir?                 21         Q Did you recognize that document,
    22       A I didn't run the traffic. That            22    sir?
    23    was what my affiliate did for him.             23         A I do not.
    24       Q I'm sorry?                                24         Q Were you familiar with any of the
    25       A My affiliate ran the traffic for          25    websites that Andrew Lloyd operated and were

                                                                                          11 (Pages 38 to 41)

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                                                 Danny Pierce

                                                    42                                                     44
     1                 DANNY PIERCE                        1                 DANNY PIERCE
     2   used to respond to offers by CBC?                 2     correct?
     3                MR. LEVINE: Objection.               3                 MR. COCHELL: Make your
     4            Vague, compound, lack of                 4            objections. Let him answer the
     5            foundation.                              5            question, counsel.
     6       A I do not.                                   6                 MR. LEVINE: I'm going to
     7       Q So you never looked at any of               7            make my objection. It's vague.
     8   Andrew Lloyd's websites that were part of his     8            It lacks foundation. It assumes
     9   affiliate relationship with you; is that          9            facts that are not in evidence,
    10   correct?                                         10            and you're asking him to describe
    11                MR. LEVINE: Objection.              11            a document he says he does not
    12            Vague, lack of foundation,              12            recognize.
    13            compound.                               13                 MR. COCHELL: I will ask the
    14                MR. NEWMAN: Could you be            14            question again. The court
    15            clear? When you say you never           15            reporter will restate it. Your
    16            looked, are you referring to him        16            objection is on the record. Let
    17            specifically, or --                     17            the witness answer.
    18                MR. COCHELL: Yes. That's            18                 (Whereupon, the question was
    19            what I said, you.                       19            read back by the reporter.)
    20                MR. NEWMAN: Well, you could         20        A I wasn't aware that he was using a
    21            mean you specifically or somebody.      21     website.
    22                MR. COCHELL: I will ask             22        Q Andrew Lloyd was using a
    23            that question.                          23     website?
    24       Q Let me ask it a different way. Did         24        A Yes.
    25   you personally review any of the websites that   25        Q Do you think it's probable that

                                                    43                                                     45
     1                DANNY PIERCE                        1                  DANNY PIERCE
     2   were operated by Andrew Lloyd and were part of   2     someone, Urcan, your affiliate manager, was
     3   his, I guess, response to CBC's offer?           3     familiar with Andrew Lloyd's website?
     4                MR. LEVINE: Objection.              4                  MR. LEVINE: Objection. It's
     5            Vague, lack of foundation,              5             speculation.
     6            compound.                               6         A Urcan wasn't involved in the
     7       A I did not, but he didn't use a             7     company when CBC offer came on to the network.
     8   website to promote Michael Brown's offer.        8                  MR. LEVINE: You said Urcan
     9       Q I see. What you're saying by that          9             was not?
    10   answer is that this wasn't his website, you      10                 THE WITNESS: He was not.
    11   have never seen his website, but you're          11        Q At what point did Urcan become
    12   commenting that it wasn't used to promote        12    involved?
    13   Michael Brown's website?                         13        A He was never involved.
    14                MR. LEVINE: If you                  14        Q Was he involved in the company
    15            understand what he's talking            15    after you had a relationship with CBC?
    16            about.                                  16        A No.
    17                MR. COCHELL: We're talking          17        Q How long did Urcan work with you
    18            about deposition Exhibit 3.             18    as an affiliate manager?
    19                MR. LEVINE: I believe               19        A I can't be certain.
    20            Mr. Pierce testified he didn't          20        Q How many months, approximately?
    21            recognize the exhibit, so I don't       21    Was it more than one? Was it more than
    22            know what we're talking about.          22    five?
    23       Q So you have no idea of what                23        A More than five, but he wasn't an
    24   Mr. Lloyd did on his websites to promote or      24    affiliate manager when we had CBC on the
    25   somehow refer to CBC's website; is that          25    network.

                                                                                            12 (Pages 42 to 45)

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                                                  Danny Pierce

                                                    46                                                      48
     1             DANNY PIERCE                           1                    DANNY PIERCE
     2       Q   Was he an affiliate manager in           2           Q Well, I'm asking about any
     3   2014?                                            3      template. Did you see any templates that are
     4       A No.                                        4      used?
     5       Q Was he an affiliate manager in             5           A I don't think so.
     6   2015?                                            6                   (Whereupon, an e-mail was
     7       A No.                                        7               marked as Defendant's Exhibit 4,
     8       Q When was he an affiliate manager           8               for identification, as of this
     9   for Revable?                                     9               date.)
    10       A First he was affiliate manager for         10          Q With respect to Michael Brown, I
    11   CPA Staxx. I'm not certain of the dates. I       11     want to ask you what's been marked as
    12   think with -- I want to say I can't be certain   12     deposition Exhibit 4, sir, and ask if you
    13   of the dates, off the top of my head.            13     recognize that document?
    14       Q So was it some time in 2014?               14          A Yes.
    15                MR. LEVINE: Objection.              15          Q This starts off with, please
    16            Asked and answered.                     16     change your template to say something like,
    17                MR. NEWMAN: Asked and               17     don't e-mail me the report, just print it out.
    18            answered.                               18     Do you see that?
    19       A I can't be certain of the dates.           19          A Yes.
    20       Q Did you become aware of any                20          Q So this was referring to a
    21   templates that were used by Andrew Lloyd as an   21     template that was being used by Andrew Lloyd;
    22   affiliate in connection with CBC?                22     is that correct?
    23                MR. LEVINE: Objection,              23          A Yes.
    24            Vague.                                  24          Q You never actually saw the
    25                MR. NEWMAN: Objection as to         25     template that was being used by Andrew Lloyd;

                                                    47                                                      49
     1                DANNY PIERCE                         1                  DANNY PIERCE
     2           form.                                     2     is that correct?
     3               MR. LEVINE: Vague and                 3                  MR. LEVINE: Objection.
     4           foundation.                               4              Vague.
     5               MR. NEWMAN: Could you be              5          A I don't think in full.
     6           more specific with respect to             6          Q With respect to the template, with
     7           templates? Do you know what a             7     respect to Defendant's Exhibit 4, it says
     8           template is?                              8     something happened. The template is -- "Do
     9               THE WITNESS: Yes.                     9     not send me the report over mail. Bring it to
    10        Q TEMPLATES are used by companies,          10     the tour." Is that your part of a text of
    11   kind of like a form letter that's used, and      11     Defendants' Exhibit 4?
    12   it's modified to match a potential customer,     12          A Yes.
    13   correct?                                         13          Q What were you asking here?
    14        A Yes.                                      14          A I was relaying messages back and
    15        Q Did you ever see potentially any          15     fourth, I believe.
    16   templates that were used by Andrew Lloyd in      16          Q To who?
    17   connection with driving traffic to CBC?          17          A To Mike Brown.
    18               MR. LEVINE: Vague.                   18          Q So it says, mail or e-mail, just
    19           Objection.                               19     trying to reduce complaints and don't want
    20        A I wouldn't be able to answer that.        20     them to feel phished. What was Brown's
    21   I'm not sure if it was direct. I'm not           21     concern?
    22   sure.                                            22                  MR. LEVINE: Objection.
    23        Q You're not sure what about?               23              Speculation and lack of
    24        A If I saw any templates, I'm not           24              foundation.
    25   sure what template you're talking about.         25          A I don't know what he was --

                                                                                             13 (Pages 46 to 49)

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                                                 Danny Pierce

                                                       50                                                   52
     1               DANNY PIERCE                            1                 DANNY PIERCE
     2         Q   Do you know what the term phished         2   being sent over e-mail people being driven to
     3   is?                                                 3   his website; isn't that right, sir?
     4       A Yes.                                          4                MR. LEVINE: Objection.
     5       Q So he had a concern about people              5            Vague, mischaracterizes the
     6   feeling phished.                                    6            record.
     7               MR. LEVINE: Objection.                  7       A No. He was trying to reduce
     8       Q If they were e-mailing credit                 8   complaints to his credit report offer.
     9   reports over e-mail.                                9       Q So his initial request is, please
    10               MR. LEVINE: Objection.                 10   change your template. Obviously he thought
    11           Mischaracterizing the record and           11   this was your template, or that's what the
    12           calls for speculation.                     12   text seems to say, right?
    13       A I wouldn't be able to answer that.           13                MR. LEVINE: Objection.
    14   I don't know.                                      14            Vague and speculative.
    15       Q You can't answer it one way or the           15       A I mean, it's just conversation,
    16   other? What does phishing mean?                    16   not like official. It's just how it's
    17       A People stealing information from             17   phrased.
    18   other people.                                      18       Q But he says please change your
    19       Q So it says, I didn't even notice             19   template to say something like, don't e-mail
    20   that. My bad. Are you going to remove the          20   the report, just take it with you, just print
    21   create user name and password from the sign-up     21   it out, right?
    22   process. I always feel like that catches           22       A Yes.
    23   people off guard. Then it says, need UN/PW.        23       Q With respect to that particular,
    24   What does UN mean?                                 24   it was a request, right?
    25       A User name.                                   25       A It was a --

                                                       51                                                   53
     1                DANNY PIERCE                           1                 DANNY PIERCE
     2       Q So if somebody e-mails a credit               2                MR. LEVINE: Objection.
     3   report over the internet, there is a risk that      3            Vague.
     4   their data could be stolen; isn't that              4        A It was a requirement. Told him to
     5   correct?                                            5   do it.
     6               MR. LEVINE: Objection.                  6        Q Did Mike say, this is a
     7           You're asking for an opinion from           7   requirement, you are required to change the
     8           the witness.                                8   template?
     9       A I wouldn't know. I don't know.                9        A I didn't say it was a requirement,
    10       Q You wouldn't know? Well, you know            10   but if we didn't change the template, he
    11   about phishing, right?                             11   wouldn't let us run the traffic anymore.
    12       A Yes.                                         12        Q So you're assuming that he
    13       Q And you know that e-mail is not as           13   wouldn't have let you drive the traffic. Did
    14   secured as other measures that are taken to        14   you have a discussion about that?
    15   protect data, correct?                             15                MR. LEVINE: Objection.
    16               MR. NEWMAN: Mr. Pierce                 16            Mischaracterizes the witness'
    17           isn't an expert.                           17            testimony.
    18               MR. COCHELL: I'm not asking            18        A No. He had certain things that
    19           as an expert. I'm asking what he           19   if -- I mean, if we didn't comply with what he
    20           knows and what he knew back                20   wanted, he wouldn't let us send the traffic.
    21           then.                                      21   He wouldn't pay us.
    22       A I wouldn't know that.                        22        Q You never asked him, is it okay if
    23       Q Let me ask you this different way.           23   we just have him e-mail the report?
    24   You knew that Mike Brown was expressing a          24        A No, I didn't.
    25   concern about the security of credit reports       25        Q So you are assuming that he

                                                                                             14 (Pages 50 to 53)

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                                                 Danny Pierce

                                                    54                                                     56
     1                DANNY PIERCE                         1                  DANNY PIERCE
     2   wouldn't have let you drive traffic to CBC        2             substantial mean?
     3   unless you changed the template?                  3         A And Andrew Lloyd traffic was from
     4               MR. LEVINE: Objection.                4    e-mail. Wasn't from the website.
     5           Vague.                                    5         Q So you made a lot of money from
     6       A I mean --                                   6    traffic driven by e-mails from Andrew Lloyd,
     7       Q Isn't it correct you were assuming          7    is that correct?
     8   that to be the case?                              8                  MR. NEWMAN: Objection as to
     9       A I wasn't assuming. I knew he                9             form.
    10   wouldn't let us continue if we didn't do what    10                  MR. LEVINE: Objection.
    11   he said to do.                                   11             Same objection.
    12       Q I see. But you never asked him,            12                  MR. NEWMAN: A lot of
    13   and he never told you that, correct?             13             money.
    14               MR. LEVINE: Objection.               14                  MR. COCHELL: I think it's
    15           Compound. Asked and answered.            15             2.4 million or something like
    16       A No. I never asked him that in              16             that.
    17   their conversation.                              17                  MR. NEWMAN: Well, then ask
    18       Q And he never told you that?                18             it that way. A lot of money is --
    19       A No.                                        19                  MR. COCHELL: I'm asking it
    20       Q Right?                                     20             now.
    21       A Yes.                                       21         A I didn't make 2.4. Most of that
    22       Q It sounds like you were unaware            22    was to Andrew Lloyd for affiliate
    23   that Andrew Lloyd was creating MLS, a website    23    commission.
    24   or ads that had MLS ads for rental homes?        24         Q How much did you make?
    25               MR. LEVINE: Objection. That          25         A I'm not sure.

                                                    55                                                     57
     1                  DANNY PIERCE                       1                  DANNY PIERCE
     2            mischaracterizes the record.             2       Q      You don't know?
     3                 MR. COCHELL: If you could           3       A      I don't know.
     4            let me finish.                           4       Q      Was it more than $500,000?
     5       Q Is that correct? Did you? Is                5                 MR. NEWMAN: Can you be more
     6   that correct?                                     6             specific? How much he netted?
     7                 MR. LEVINE: I object.               7        Q I'm asking how much revenue did
     8            Mischaracterizes the record, and         8    you make over a two-year period that you
     9            it's vague.                              9    realized after you paid Andrew Lloyd?
    10       Q Are you saying that?                       10                 MR. LEVINE: Objection.
    11                 MR. LEVINE: Same                   11             Vague.
    12            objection.                              12        A I would say -- I don't know for
    13       A I didn't know what he was -- what          13    certain.
    14   his like -- I'm confused by the question.        14        Q But if you have an approximate,
    15       Q Let me ask you this. You have a            15    that's fine. Specific numbers will tell us at
    16   substantial business relationship with CBC       16    some point.
    17   over a period of about two years, correct?       17        A Three hundred thousand maybe.
    18       A Yes.                                       18        Q So let me ask you this. With
    19       Q And a substantial part of that was         19    respect to that $300,000, you made $300,000,
    20   relationship where referrals were generated or   20    and you were familiar that Lloyd was sending
    21   traffic that was driven by Andrew Lloyd's        21    e-mails, driving traffic to CBC relating to
    22   website to CBC.                                  22    MLS ads or rental homes; is that correct, sir?
    23                 MR. LEVINE: Objection.             23                 MR. LEVINE: Objection.
    24            Vagueness.                              24             Vagueness and compound.
    25                 MR. NEWMAN: What does              25        A I don't know if there were MLS

                                                                                            15 (Pages 54 to 57)

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                                                Danny Pierce

                                                   58                                                     60
     1                DANNY PIERCE                        1                  DANNY PIERCE
     2   ads. I don't know where his ads were from.       2                 MR. LEVINE: Objection.
     3        Q So there were like real estate            3             Vague.
     4   listings of some sort?                           4         A I managed a relationship between
     5        A I'm not completely sure.                  5    Brown and Lloyd. Had it on my offer, on my
     6        Q So you're not sure today, and you         6    network, offer on my network.
     7   weren't sure back then, what he was doing?       7         Q What was wrong about that?
     8                MR. LEVINE: Objection.              8                 MR. LEVINE: Same
     9           Mischaracterizes the testimony.          9             objection.
    10        A I just know he was posting               10         A I don't know.
    11   Craigslist.                                     11         Q You did not think, and today you
    12        Q So did you know that the postings        12    still do not think that you did anything
    13   were phony postings that were a fraud on        13    illegal in managing the affiliate network, or
    14   consumers?                                      14    the affiliate activities of Mr. Lloyd and his
    15        A I didn't know if they were like a        15    e-mails to CBC?
    16   fraud, but I knew that they were there to get   16                 MR. NEWMAN: I'm going to
    17   a response, lead generation.                    17             instruct him not to answer that
    18        Q So they were there to get a lead         18             question. I'm sorry. You have to
    19   generation, but did you know that he was        19             rephrase your question. You're
    20   misleading consumers by posting phony           20             making statements. You're not
    21   Craigslist ads for rental homes.                21             asking questions.
    22                MR. LEVINE: Objection.             22                 MR. COCHELL: These are
    23           Lack of foundation and vague.           23             questions.
    24        A I knew he was posting the ads.           24                 MR. LEVINE: And I'm
    25        Q But you didn't know if they were         25             objecting that you're calling him

                                                   59                                                     61
     1                 DANNY PIERCE                      1                   DANNY PIERCE
     2   legitimate ads with legitimate landlords for    2             to make a statement.
     3   rental homes; is that correct?                  3                  MR. NEWMAN: Of legal
     4                MR. LEVINE: Objection.             4             conclusions.
     5            Vague.                                 5                  MR. COCHELL: The record
     6        A I just knew they were ads and            6             shows that I asked him whether he
     7   pictures.                                       7             felt that he was doing anything
     8        Q And they looked legitimate to you?       8             wrong. I think that's perfectly
     9   Did you see any of the pictures?                9             appropriate. It's not a legal
    10                MR. LEVINE: Objection. Lack        10            question.
    11            of foundation and vague.               11                 MR. NEWMAN: That question
    12        A I really haven't seen the posts          12            is fine. It was the subsequent
    13   live. Like I know they had to have looked       13            question.
    14   real.                                           14        Q With respect to the e-mails from
    15        Q Did you see some of the posts in         15    Mr. Lloyd to Mr. Brown, did you at the time,
    16   the documents circulated in this lawsuit?       16    think those e-mails were misleading or
    17        A Yes.                                     17    deceptive to consumers?
    18        Q Would it be fair to say that you         18                 MR. LEVINE: Vague.
    19   felt victimized by Andrew Lloyd when you were   19            Objection. Calls for legal
    20   sued in this lawsuit?                           20            conclusion and lacks foundation.
    21                MR. LEVINE: Objection.             21        A I didn't think so.
    22            Vague.                                 22        Q If you had thought that they were
    23        A No.                                      23    misleading or deceptive in some way, you would
    24        Q Well, what did you do that was           24    have told Lloyd to stop sending those e-mails
    25   wrong?                                          25    to Brown, and misleading consumers; isn't that

                                                                                           16 (Pages 58 to 61)

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                                                 Danny Pierce

                                                    62                                                     64
     1              DANNY PIERCE                           1                 DANNY PIERCE
     2   right?                                            2    documents you guys can take a look at them
     3               MR. LEVINE: Same objection,           3    real quick.
     4           and in addition to the prior              4                 MR. LEVINE: Do you mind if
     5           objection, it's compound.                 5            I stand behind the witness?
     6       A I would have terminated the                 6                 MR. COCHELL: I'm actually
     7   relationship between the two of them.             7            going to do that, too. I don't
     8       Q If you had known that the ads that          8            have a problem.
     9   circulated to consumers by Lloyd were false or    9        Q I show you what's been marked as
    10   misleading in some respects, you wouldn't have   10    McKinney Exhibit 8, I believe, and I will
    11   continued doing business with them; is that      11    represent to you this was produced by the FTC
    12   correct?                                         12    during the course of this case. And you may
    13               MR. LEVINE: Objection.               13    or may not recognize it. It's one of numerous
    14           Vague. Lack of foundation.               14    documents that have been disclosed. Do you
    15       A Not if I knew the extent of what           15    recognize McKinney Exhibit 8?
    16   was going to happen from it, I would have        16        A Yes.
    17   obviously terminated the relationship between    17        Q Prior to this lawsuit being filed,
    18   both of them.                                    18    did you ever review any MLS or Craigslist ads
    19               MR. COCHELL: Why don't we            19    that Mr. Lloyd used in driving traffic to CBC?
    20           take a break.                            20                 MR. LEVINE: Objection.
    21               (Whereupon, a recess was             21            Vague. Compound. Lack of
    22           taken from 10:45 10:57.)                 22            foundation.
    23       Q Did you ever meet Michael Brown in         23        A I didn't review.
    24   person?                                          24        Q Exhibit 8 is an example of what
    25       A I have not.                                25    you would expect to see if somebody was trying

                                                    63                                                     65
     1                 DANNY PIERCE                       1                  DANNY PIERCE
     2       Q Did you ever meet Andrew Lloyd in          2     to drive traffic for a rental home, or a home
     3   person?                                          3     to be sold; is that a fair statement?
     4       A I have not.                                4                 MR. LEVINE: Objection.
     5       Q Prior to him becoming part of your         5             Vague. Calls for speculation.
     6   affiliate network, you never did any business    6         A Just a rental on Craigslist.
     7   with Andrew Lloyd?                               7         Q You see homes being advertised on
     8       A I don't believe so.                        8     Craigslist for rental or for sale; is that
     9                MR. COCHELL: Pass the               9     correct?
    10            witness.                                10        A Yes.
    11                MR. LEVINE: In that case,           11        Q Historically?
    12            we would like a short break before      12        A Yes. I mean, it does like have
    13            we begin.                               13    some triggers, like the price for this three
    14                (Whereupon, a recess was            14    bedroom kind of seems low. I don't know what
    15            taken from 11:00 a.m. to 11:37          15    the housing market is in Boston. That's
    16            a.m.)                                   16    generally what was done. Prices were set,
    17                MR. LEVINE: Let the record          17    like 30 percent lower or 40 percent lower than
    18            show that the examination was           18    the normal.
    19            passed to the plaintiff, and at         19        Q When you say the prices were
    20            Mr. Cochell's request, the              20    generally set, I mean, are you referring to
    21            plaintiff has agreed to let him         21    what Lloyd did?
    22            ask some additional questions.          22        A Yes. The prices were marked
    23       Q I just have a couple of documents          23    down.
    24   that I want to show you from Mr. McKinney's      24        Q So did you have a discussion with
    25   deposition. I only have one copy. These are      25    Lloyd about doing that?

                                                                                            17 (Pages 62 to 65)

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                                                    66                                                     68
     1               DANNY PIERCE                          1                 DANNY PIERCE
     2       A I wouldn't believe so, but I know           2        A In an exhibit?
     3   that's what was being done.                       3        Q Yes.
     4       Q So he never told you that, and you          4        A I'm sure I did, yes.
     5   never asked him about how he set the prices or    5        Q Do you know why this would have
     6   whether he set them 30 percent below the real     6    been sent to you?
     7   market?                                           7        A For some type of approval.
     8              MR. LEVINE: Objection,                 8        Q But do you, sitting here today,
     9           Vague and compound.                       9    have any idea of what was being asked you to
    10       A It's just the practice, is what I          10    approve?
    11   knew what he was doing.                          11        A Just to relay the copy,
    12       Q Whose practice is it?                      12    probably.
    13       A Just the practice that was being           13        Q Relay the copy to who?
    14   done.                                            14        A The copy of the e-mail, the
    15       Q Not just Lloyd, but other people           15    template.
    16   in the industry?                                 16        Q Oh, you mean the content of it?
    17       A I wouldn't say the industry, but I         17        A Yes.
    18   mean it's just to get a response, more of a      18        Q Then by clicking there, clicking
    19   response for ad.                                 19    here, where it says clicking here in
    20       Q I show you what's been marked as           20    deposition Exhibit McKinney 9, that would go
    21   McKinney Exhibit 9. Have you ever seen that      21    to CBC; is that your understanding?
    22   document? This is one of hundreds of             22        A Yes. That would go to Michael
    23   documents, but this was sent apparently to       23    Brown's website.
    24   you, danny@revable.com.                          24        Q So during the time that Lloyd was
    25              MR. LEVINE: Vague.                    25    driving traffic to CBC in 2015 and 2016, you

                                                    67                                                     69
     1                DANNY PIERCE                         1                 DANNY PIERCE
     2           Compound.                                 2    had no idea of whether this -- for example,
     3        Q Do you recognize that document?            3    looking at Exhibit 8, houses like Exhibit 8
     4        A I don't recognize the document.            4    that were being used by Lloyd, you have no
     5        Q Was that your e-mail address at            5    idea whether they were legitimate ads or
     6   the time?                                         6    whether they were phony ads?
     7        A Yes.                                       7                 MR. LEVINE: Objection.
     8        Q It talks about, I think this was           8             Vague, compound, lack of
     9   -- I know you want the exact address property     9             foundation.
    10   but my husband does not want me to advertise     10        A By legitimate or phony, I'm not
    11   the practice as measure of safety. Do you see    11    sure what you mean.
    12   that?                                            12        Q Let's assume that there is a real
    13        A Yes.                                      13    house in a real listing with all of these
    14        Q At the time, did you know that            14    documents, right, can you do that?
    15   there was no landlord?                           15        A Yes.
    16               MR. LEVINE: Objection.               16        Q But then let's assume that in
    17           Vague. What time?                        17    reality that house was not on the market.
    18               MR. COCHELL: As of the date          18        A Okay.
    19           of the e-mail.                           19        Q But this ad had been lifted and
    20               MR. LEVINE: The witness              20    was being used, and therefore, was not a real
    21           said he does not recognize the           21    ad, so to speak.
    22           e-mail.                                  22                 MR. NEWMAN: Are you asking
    23               MR. COCHELL: Okay.                   23             him to assume that?
    24        Q Did you see other e-mails like            24        Q Can you assume that?
    25   this in McKinney number 9?                       25        A I mean -- I guess, yes.

                                                                                           18 (Pages 66 to 69)

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                                                Danny Pierce

                                                    70                                                     72
     1               DANNY PIERCE                        1                    DANNY PIERCE
     2       Q Did you know, based on these              2     Craigslist -- I mean, credit report lead.
     3   assumptions, as you now know today, did you     3         Q This house, for example,
     4   know that these sorts of ads that did not       4     deposition Exhibit 8, did you know houses that
     5   actually represent a house that was -- let me   5     were being advertised like this through Lloyd
     6   back up. Did you know that the houses that      6     were not actually for rent? Did you know that
     7   were being driven to CBC by Lloyd were not      7     at the time?
     8   actually for rental?                            8                   MR. LEVINE: Objection. Are
     9               MR. LEVINE: Objection.              9              your assumptions still holding?
    10           Lack of foundation and vague.           10             It's vague.
    11       A I don't think they were for rent,         11                  MR. COCHELL: Yes.
    12   no.                                             12         A I mean, I wouldn't be able to
    13       Q At the time did you believe that          13    answer that.
    14   they were not for rent, that you knew they      14         Q What?
    15   were not for rent?                              15        A I don't know if the house was for
    16       A Yes. They weren't for rent, not           16    rent or if it wasn't for rent.
    17   by Lloyd.                                       17        Q Well, okay. I'm asking you to
    18       Q But they would have been for rent         18    assume that it wasn't for rent. Did you know
    19   by other people?                                19    that there were scores of houses like this
    20               MR. LEVINE: Objection.              20    being driven to CBC where consumers complained
    21           Vague and lack of foundation.           21    that the house was not actually for rent.
    22       A I mean, they could have been at           22                  MR. LEVINE: You're pointing
    23   one point. Who know if this house was a         23             to Exhibit 8.
    24   rental or if it was not a rental.               24                  MR. COCHELL: I'm pointing
    25       Q So let's go back to my                    25             to Exhibit 8.

                                                    71                                                     73
     1                DANNY PIERCE                        1                 DANNY PIERCE
     2   hypothetical. Assume that this house was not     2                MR. LEVINE: Objection.
     3   for rent, okay, at the time this was being       3            Vague.
     4   used by Lloyd. Can you do that?                  4        A Yes.
     5       A Okay.                                      5        Q Did you know at the time that
     6       Q Assume that this was used to drive         6    these sorts of misleading ads were being
     7   traffic to CBC, and mislead a consumer about     7    circulated by Lloyd with referrals to CBC.
     8   the existence of a house that was supposedly     8                MR. LEVINE: Objection.
     9   for rent when it was not. Can you do that?       9            Lack of foundation. Vague.
    10                MR. LEVINE: These are not          10        A Yes. These adds were being posted
    11            questions.                             11    to send traffic to CBC.
    12                MR. COCHELL: No. These are         12        Q Did you know they were phony ads?
    13            assumptions. These are a               13                MR. LEVINE: Same
    14            hypothetical foundation                14            objection.
    15            question.                              15        A Yes.
    16       Q So my question to you, sir,               16        Q How did you know?
    17   knowing those facts, or assuming those facts,   17        A Because I know he's not renting
    18   did you know at the time that this sort of      18    these places out. He's not a realtor. He
    19   rental was being circulated by Lloyd to CBC     19    doesn't own the place. It's not his --
    20   for the purpose of misleading consumers?        20        Q All right, so --
    21                MR. LEVINE: Objection.             21        A He has no connection to this
    22            Vague. Compound. Lack of               22    property.
    23            foundation.                            23        Q So why did you continue doing
    24       A That's all it was -- it was posted        24    business with him, if you knew that he was
    25   to created a response, response for             25    sending ads that he had no connection to?

                                                                                           19 (Pages 70 to 73)

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                                                 Danny Pierce

                                                    74                                                     76
     1                DANNY PIERCE                        1                  DANNY PIERCE
     2       A Because it was okay with                   2         A No. It's just how it went. They
     3   advertisers and this is the traffic that Mike    3     responded to this ad, and they got THIS
     4   Brown wanted.                                    4     e-mail.
     5       Q Okay, but I'm trying to find out,          5         Q Okay. So you never wondered
     6   why would you send totally phony ads, or why     6     whether there was a landlord that actually was
     7   would you participate in sending totally phony   7     trying to rent a home?
     8   ads to anyone?                                   8                 MR. LEVINE: Objection.
     9               MR. LEVINE: Objection.               9             Asked and answered, and vague.
    10           Vague. Argumentative.                    10        A There wasn't a landlord. Andrew
    11       A Well, at the time I didn't think           11    Lloyd was not representing a landlord. He was
    12   it was deceptive, and I didn't see the           12    just posting the ad.
    13   consequences from it. I didn't have a lawyer     13        Q Well, how do you know he wasn't
    14   overlook what I was doing and what I was         14    representing a landlord?
    15   allowing to happen. I just assumed that it       15        A Because he was posting like five
    16   was fine, because Mike Brown wanted the          16    thousand of these a day. It's quite a lot of
    17   traffic. He continuously took the traffic,       17    people for one person to manage.
    18   and I just went on based on that, that           18        Q Okay. You never had a discussion
    19   everything was fine with it, because a company   19    with Mike Brown about that?
    20   was charging customers from this traffic.        20                MR. LEVINE: Objection.
    21               MR. NEWMAN: Can we go off            21            Vague.
    22           the record for a moment?                 22        A No, but he knew the whole -- what
    23               (Whereupon, a discussion was         23    the whole deal was with this.
    24           held off the record.)                    24                MR. COCHELL: Move to
    25       Q So when you say Mike Brown wanted          25            strike.

                                                    75                                                     77
     1                 DANNY PIERCE                        1                 DANNY PIERCE
     2   that traffic, he wanted traffic from real         2         Q My question was, you never had a
     3   estate agents, right?                             3    discussion with Mike Brown about this; is that
     4                MR. LEVINE: Objection.               4    correct?
     5            Calls for speculation.                   5                 MR. LEVINE: Objection.
     6       A He just wanted credit report                6             Asked and answered.
     7   traffic, just traffic for his credit report.      7                 MR. COCHELL: I would like a
     8       Q Did you ever have a discussion              8             clear cut answer.
     9   with Lloyd about whether these ads were           9                 MR. LEVINE: It was clear.
    10   genuine in the sense that there was a landlord   10             He answered it. I object.
    11   or seller of the property?                       11         A I mean, I never had a conversation
    12                MR. LEVINE: Objection.              12    personally with him about the postings.
    13            Vague.                                  13         Q As I understand it, your testimony
    14       A I did not.                                 14    is that Mike knew you had an affiliate, or
    15       Q Did it ever occur to you to have           15    affiliates working for you, because you had an
    16   that sort of discussion with him?                16    affiliate management system?
    17       A I did not.                                 17                 MR. LEVINE: Objection.
    18       Q Did Lloyd ever tell you that there         18             Mischaracterizes the testimony,
    19   was, with respect to these, the landlord         19             and vague.
    20   e-mail in Exhibit 9, did he tell you that he     20           (Continued on the next page.)
    21   had fabricated something, deposition Exhibit     21
    22   9, to make it appear that there was a landlord   22
    23   when, in fact, there was not?                    23
    24                MR. LEVINE: Objection.              24
    25            Compound. Lack of foundation.           25


                                                                                            20 (Pages 74 to 77)

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                                                      78                                                         80
     1              DANNY PIERCE                           1
     2        A I had an affiliate network.                2               INDEX
     3                                                     3      WITNESS: DANNY PIERCE
              Q Okay. All right.
     4
                                                           4      EXAMINATION BY:                  PAGE
                   MR. COCHELL: That's all the             5      MR. COCHELL                    3
     5          questions we have. Pass the                6             ***    *** ***
     6          witness.                                   7               EXHIBITS
     7             MR. LEVINE: I have no                   8      DEFENDANT'S EXHIBITS DESCRIPTION            PAGE
     8          questions.                                 9      1         Form Post, Revable 18
     9             (Time noted: 12:05 p.m. )               10     2         Document          40
    10                                                     11     3         Document entitled, 41
    11                                                                     Rent Find
                                                           12
    12
    13                                                            4           E-mail         48
                                                           13
    14
                                                                        ***    ***     ***
    15                                                     14
    16                                                     15
    17                                                     16
    18                                                     17
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    24                                                     24
    25                                                     25



                                                      79                                                         81
     1                                                      1
     2        ACKNOWLEDGMENT                                2                 CERTIFICATION
     3                                                      3
     4         I, DANNY PIERCE, hereby certify that         4          I, Debra J. Gumpel, a Shorthand Reporter
     5         I have read the transcript of my             5     and Notary Public in and for the State of New
     6         testimony taken under oath in my             6
     7         deposition of the 30th day of                      York, do hereby certify:
                                                            7          That the testimony of DANNY PIERCE, was
     8         January 2018; that the transcript is
                                                            8     held before me at the aforementioned time and
     9         a true, complete and correct record
    10         of what was asked, answered and said         9     place.
    11         during this deposition, and that the        10          That said witness was duly sworn before
    12         answers on the record as given by me        11     the commencement of the testimony and that the
    13         are true and correct.                       12     testimony was taken stenographically by me and
    14
                                                           13     is a true and accurate transcription of my
                   ________________________                14     stenographic notes.
    15               DANNY PIERCE                          15
    16                                                                 I further certify that I am not related
                                                           16     to any of the parties to the action by blood
         Subscribed and sworn to before me
    17                                                     17     or marriage and that I am in no way interested
         this ____ day of _______________, 2018.           18     in the outcome of this matter.
    18                                                     19          IN WITNESS WHEREOF, I have hereunto set
    19   ________________________                          20     my hand this ______ day of ____________, 2018.
         Notary Public                                     21
    20
                                                           22
    21
    22                                                                            ----------------------
                                                           23                      DEBRA J. GUMPEL
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    24                                                     24                  --o0o--
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                                 MS Legal Support Registration #813
                            713-650-1800 production@mslegalsupport.com
